Case 1:03-cv-01188-.]DT-STA Document 36 Filed 05/06/05 Page 1 of 3 Page|D 36

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE %`
EASTERN DIVISION 4'.5,_

KEV!N s. TAYLOR, /;_;_,§“';ij de ,z)
c`,/j'O“§) '¢)
Plaintiff`, €F}@U;` 0 )
%€3*

VS. No. 03-1188-T/An

HOWARD COOK, ET AL.,

\_/\-_/\_/\_/\_/\_/\_/\_/\_/\_/\_/

Defendants.

 

ORDER TO ISSUE AND SERVE PROCESS

 

On December 20, 2004, the plaintiff, Kevin S. Taylor, an inmate at the Southeastern
Tennessee State Regional Correctional Facility in Pikeville, Tennessee, Was granted leave
to amend his complaint to add Andy I~Iaynes, the Assistant Warden of Operations at
Northwest Correctional Cornplex, as a defendant The amended complaint was filed on
January 3, 2005. However, inadvertently, no order was entered directing the issuance and
service of process.

Therefore, it is ORDERED that the Clerk of Court shall issue process for defendant
Andy Haynes and deliver said process to the United States Marshal for service. The Clerk
shall include in said process a copy of the amended complaint herein.

Service Shall be made on defendant Haynes pursuant to Fed. R. Civ. P. 4(e)(l) and

This document entered on the docket sheet In compllance

with anne ss and/or 79 (a) FRcP on (25'0‘3! ~' O©' @
5

Case 1:03-cv-01188-.]DT-STA Document 36 Filed 05/06/05 Page 2 of 3 Page|D 37

Tenn. R. Civ. P. 4.04(1) & (10), either by mail or personally if mail service is not effective
All costs of service shall be advanced by the United States.

IT IS SO ORDERED.

A\M

JA S D. TODD
ED STATES DISTRICT JUDGE

§!/%W(/?\ QM‘“

DATE

DISTRICT oURT WESTERN D"ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:03-CV-01188 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Arthur Crovvnover

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Kevin S. Taylor
S.TS.R.C.F.

Rt. 4, BoX 600
Pikeville, TN

Honorable J ames Todd
US DISTRICT COURT

